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                                                                              VANFSSA L
                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY                           OCT 152018
                                   AT OWENSBORO

UNITED STATES OF AMERICA

                                                                      INFORMATION
V.
                                                             NO.     lJ: /8-tR- -cilo--:SH /l{
                                                                     18 U.S.C. § 981(a)(l)(C)
KARLA KING                                                           18 U.S.C. § 1343
                                                                     28 U.S.C. § 2461



The United States Attorney charges:

                                            COUNT 1
                                          ( Wire Fraud)

       Beginning in or about June 2013, and continuing to in or about January 2015, in the

Western District of Kentucky, Daviess County, Kentucky, and elsewhere, the defendant, KARLA

KING, devised a scheme and artifice to obtain money and property by means of false and

fraudulent pretenses, representations, and promises, and for the purpose of executing the scheme,

caused signs, signals, and sounds to be transmitted by means of wire communication in interstate

commerce: to wit, KARLA KING caused fax transmissions containing false and fraudulent

information to be sent from Owensboro, Kentucky, to Ooltewah, Tennessee in order to

fraudulently obtain goods, with the total amount of goods obtained being approximately $20,000.

Specifically, on November 5, 2013, she faxed false and fraudulent forms to obtain goods, resulting

in an interstate wire communication from Owensboro, Kentucky, to offices in Ooltewah,

Tennessee.

       In violation of Title 18, United States Code, Section 1343.
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                                    NOTICE OF FORFEITURE
                 ,
       As a result of committing an offense in violation of Title 18, United States Code, Section

1343, as alleged in Count 1 of this Information, a felony punishable by imprisonment for more

than one year, the defendant, KARLA KING, shall forfeit to the United States, pursuant to Title

18, United States Code, Section 981(a)(l)(C), and Title 28, United States Code, Section 2461, any

and all property constituting, or derived from, proceeds defendant obtained, directly or indirectly,

as a result of the violations alleged in Count 1 of this Indictment.




                                               RUSSELL M. COLEMAN
                                               UNITED STATES ATTORNEY




RMC:MTS




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                                                           PENALTIES

Count I: NM 20 yrs./$250,000/both/NM 3 yrs. Supervised Release
Forfeiture


                                                              NOTICE

ANY PERSON CONVICTED OF AN OFFENSE AGAINST THE UNITED STATES SHALL BE SUBJECT TO SPECIAL
ASSESSMENTS, FINES, RESTITUTION & COSTS.


SPECIAL ASSESSMENTS

18 U.S.C. § 3013 requires that a special assessment shall be imposed for each count of a conviction of offenses committed after
November 11 , 1984, as follows:

          Misdemeanor:            $ 25 per count/individual               Felony:         $100 per count/individual
                                  $125 per count/other                                    $400 per count/other



In addition to any of the above assessments, you may also be sentenced to pay a fine. Such fine is due immediately unless the court
issues an order requiring payment by a date certain or sets out an installment schedule. You shall provide the United States Attorney's
Office with a current mailing address for the entire period that any part of the fine remains unpaid, or you may be held in contempt of
court. 18 U.S.C. § 3571, 3572, 3611, 3612

Failure to pay fine as ordered mav subject vou to the following:

          I.    INTEREST and PENAL TIES as applicable by law according to last date of offense.

                     For offenses occurring after December 12, 1987:

                     No INTEREST will accrue on fines under $2,500.00 . .

                     INTEREST will accrue according to the Federal Civil Post-Judgment Interest Rate in effect at
                     the time of sentencing. This rate changes monthly. Interest accrues from the first business day
                     following the two week period after the date a fine is imposed.

                     PENAL TIES of:

                     10% of fine balance if payment more than 30 days late.

                     15% of fine balance if payment more than 90 days late.

          2.         Recordation of a LIEN shall have the same force and effect as a tax lien.

          3.         Continuous GARNISHMENT may apply until your fine is paid.

          18 U.S.C. §§ 3612, 3613

                     If you WILLFULLY refuse to pay your fine, you shall be subject to an ADDITIONAL FINE
                     of not more than the greater of $10,000 or twice the unpaid balance of the fine; or
                     IMPRISONMENT for not more than I year or both. 18 U.S.C. § 3615
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RESTITUTION

If you are convicted of an offense under Title 18, U.S.C., or under certain air piracy offenses, you may also be ordered to make
restitution to any victim of the offense, in addition to, or in lieu of any other penalty authorized by law. 18 U.S.C. § 3663

APPEAL

If you appeal your conviction and the sentence to pay your fine is stayed pending appeal, the court shall require:

           1.          That you deposit the entire fine amount (or the amount due under an installment schedule
                       during the time of your appeal) in an escrow account with the U.S. District Court Clerk, or

           2.          Give bond for payment thereof.

           18   u,s.c. § 3572(g)
PAYMENTS

If you are ordered to make payments to the U.S. District Court Clerk's Office, certified checks or money orders should be made payable
to the Clerk, U.S. District Court and delivered to the appropriate division office listed below:

                      LOUISVILLE:                       Clerk, U.S. District Court
                                                        106 Gene Snyder U.S. Courthouse
                                                        601 West Broadway
                                                        Louisville, KY 40202
                                                        502/625-3500

                      BOWLING GREEN:                  Clerk, U.S. District Court
                                                      120 Federal Building
                                                      241 East Main Street
                                                      Bowling Green, KY 4210 I
                                                      270/393-2500

                      OWENSBORO:                      Clerk, U.S. District Court
                                                      126 Federal Building
                                                      423 Frederica
                                                      Owensboro, KY 42301
                                                      270/689-4400

                      PADUCAH:                        Clerk, U.S. District Court
                                                      127 Federal Building
                                                      501 Broadway
                                                      Paducah, KY 4200 I
                                                      270/415-6400

If the court finds that you have the present ability to pay, an order may direct imprisonment until payment is made.
